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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     TAKE-TWO INTERACTIVE SOFTWARE,                      Case No. 21-cv-06831-TSH
                                         INC.,
                                   8
                                                         Plaintiff,                          ORDER RE: STIPULATION OF
                                   9                                                         DISMISSAL
                                                  v.
                                  10                                                         Re: Dkt. No. 47
                                         ANGELO PAPENHOFF, et al.,
                                  11
                                                         Defendants.
                                  12
Northern District of California
 United States District Court




                                  13          Plaintiff Take Two Interactive Software, Inc. brings this case against Defendants Angelo

                                  14   Papenhoff; Theo Morra; Eray Orçunus; Adrian Graber; Doe 1 a/k/a “Ash R.” and “Ash_735,” and

                                  15   Does 2 through 10. On April 3 Take Two and Defendants Papenhoff, Morra, Orçunus, and Graber

                                  16   filed a Stipulation of Dismissal, stating “that all claims asserted in the above-referenced action

                                  17   against the Named Defendants are dismissed with prejudice, pursuant to Fed. R. Civ. P.

                                  18   41(a)(1)(A)(ii), with each party to bear its own costs, expenses and attorneys’ fees. The remaining

                                  19   Defendants are not dismissed by this Stipulation.” ECF No. 47. As it is unclear if Take Two

                                  20   intends to prosecute this action as to Doe 1 a/k/a “Ash R.” and “Ash_735” and Does 2 through 10,

                                  21   the Court ORDERS it to file by April 10, 2023 either a notice of voluntary dismissal (with or

                                  22   without prejudice) as to these defendants or a statement that it intends to proceed with this action

                                  23   as to the defendants that did not sign the stipulation.

                                  24          IT IS SO ORDERED.

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                                  26   Dated: April 3, 2023

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                                                                                                     THOMAS S. HIXSON
                                  28                                                                 United States Magistrate Judge
